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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION

   AMERICAN CLOTHING EXPRESS, INC.,             Case No. 2:20-cv-02007-SHM-dkv
   D/B/A ALLURE BRIDALS AND JUSTIN
   ALEXANDER, INC.,

   Plaintiffs,

   v.

   CLOUDFLARE, INC. and DOES 1 - 200,
   inclusive,

   Defendants.


   CLOUDFLARE, INC.

   Counterclaimant,

   v.

   AMERICAN CLOTHING EXPRESS, INC.,
   D/B/A ALLURE BRIDALS AND JUSTIN
   ALEXANDER, INC.,

   Counterdefendants.



           PLAINTIFFS-COUNTERDEFENDANTS’ MEMORANDUM OF LAW IN
           SUPPORT OF THEIR MOTION FOR LEAVE TO SERVE PROCESS BY
                            SUBSTITUTED SERVICE
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         Pursuant to Federal Rule of Civil Procedure 4(f)(3), Plaintiffs-Counterdefendants

  American Clothing Express, Inc. d/b/a Allure Bridals (“Allure”) and Justin Alexander, Inc.

  (“Justin,” together with Allure, “Plaintiffs”) submit this memorandum of law in support of their

  Motion for Leave to Serve Process by Substituted Service via email upon the ninety-six (“96”)

  Infringing Website Defendants identified in Exhibit 1, attached to the Declaration of Russell

  Bogart (“RB Decl.”), at the email addresses identified therein.

                                  PRELIMINARY STATEMENT

          Plaintiff wedding and prom dress manufacturers are pitted in a seemingly hopeless match

  of “whack-a-mole” against foreign infringers and counterfeiters who have engaged in the

  systematic misappropriation of Plaintiffs’ product images to display infringing copies of them on

  websites used to sell knock-off dresses (“Infringing Websites”). These offshore Internet store

  operators typically provide incomplete and/or false names and physical addresses in internet

  registrars to conceal their identities and to avoid liability for their misconduct. Because the

  Infringing Websites are hosted in far-flung jurisdictions where enforcement by Plaintiffs of their

  copyrights at a minimum is difficult, Plaintiffs’ notifications of infringement sent to the hosts of

  the Infringing Websites or the Infringing Website Defendants themselves often are disregarded.

         With the permission of the Court, Plaintiffs have engaged in early discovery to uncover the

  identity of these infringers, and at least to develop sufficient information to effectuate service of

  process upon them. Plaintiffs’ investigation has uncovered the following information:

         First, Plaintiffs have learned that many of the 96 websites listed in Exhibit 1 had provided

  the same email addresses and/or physical addresses to the defendant Cloudflare, Inc.

  (“Cloudflare”). Thus, while the 96 websites ostensibly appear to be distinct fronts for different

  online stores – with each distinct website individually being a repeat infringer who has repeatedly


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  ignored complaints of infringement – in actuality the majority of the websites are parts of clusters

  controlled by the same group of persons, as confirmed by Cloudflare’s own records.

         Second, Plaintiffs have determined that each of the physical addresses provided by the 96

  websites to Cloudflare – to the extent any address was provided – constitutes a phony physical

  address in China.

         Third, subscription, header and “ip log” information for some of the email addresses

  associated with these websites, indicate that some of the email accounts apparently have been

  accessed within the United States and Western European countries at points in time. In other

  words, although many of the websites appear to be hosted on servers located within in China and

  other South East Asian countries, there is evidence that the still unidentified persons involved with

  the operation and/or control of at least some of the websites, at the least, travel to Western Europe

  or the United States. In short, while the Infringing Websites appear to be hosted mainly on servers

  located within China or South Eastern Asia, it is questionable as to whether the persons operating

  and controlling the Infringing Websites, and the entire counterfeiting operations, are truly or

  exclusively residents of China or other South East Asian countries.

         “When faced with an international e-business scofflaw, playing hide-and-seek with the

  federal court, e-mail may be the only means of effecting service of process.” Popular Enters.,

  LLC v. Webcom Media Grp., Inc., 225 F.R.D. 560, 563 (E.D. Tenn. 2004). For the reasons

  expanded upon below, electronic service upon the 96 e-business scofflaws identified in Exhibit 1

  is proper.




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                                    FACTUAL ALLEGATIONS

      I. THE PARTIES
      A. The Plaintiffs – Counterclaim Defendants
      Plaintiffs manufacture wedding and prom dresses. Plaintiffs invest hundreds of thousands of

  dollars per year on photoshoots of models wearing their dresses (the “Plaintiffs’ Images”) and on

  the advertisement of the Plaintiffs’ Images (CMP ¶ 37, 42).1 Plaintiffs’ websites serve to display

  their entire catalog of product, as shown in the Plaintiffs’ Images, and to refer brides to stores in

  their local markets, as Plaintiffs’ wedding dresses are not available for sale online (CMP ¶ 41).

  The Plaintiffs’ Images constitute an integral part of their brand identity (CMP ¶ 44).

      B. Defendant Counterclaim Plaintiff Cloudflare
      The 98 Infringing Website Defendants sued here – as identified in Schedule A to the Complaint

  – all were optimized by Cloudflare’s content delivery network during the relevant time period.2

      Cloudflare is a web performance and security company that provides a Content Delivery

  Network (“CDN”), web content optimization, website security, denial of service protection, and a

  managed domain name system network (“DNS”). A CDN refers to a geographically distributed

  group of servers which work together to provide the fast delivery of Internet content. Cloudflare’s

  marketing materials explain how Cloudflare’s CDN improves the speed of the delivery of images

  from websites hosted in far-flung places to the United States (CMP ¶¶ 96-99).


  1
   “CC” followed by “¶” refers to paragraphs of the Counterclaims; “A” followed by ¶ refers to
  paragraphs of the Answer and “CMP” followed by ¶ refers to paragraphs of the Complaint.

  2
    These 98 websites are a subset of the infringing websites that Plaintiffs have identified using
  Cloudflare’s services over the last four years, much less the universe of such infringing websites.
  The website bride2bride.co.uk returned the request to waive service of process and therein agreed
  to accept service of process. Additionally, Plaintiffs are serving process upon a director for an
  entity identified on the domain dresseshop.co.uk. Hence, Plaintiffs only need to effectuate service
  of process with respect to 96 of the 98 websites originally identified in Schedule A to the
  Complaint.
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     A CDN improves the latency of a website “by pulling static content files from the origin server

  into the distributed CDN network in a process called caching” (A ¶ 54). Once the data is cached,

  the CDN may serve the content to the customer from the closest CDN data center instead of the

  origin server, which could be located thousands of miles away.

     Cloudflare also provides a managed “domain name system” to its clients. Cloudflare requires

  its customers to name two Cloudflare nameservers as the authoritative nameservers for their

  website domain. When Cloudflare provides authoritative name server service for a customer’s

  website Cloudflare causes ISPs to route initial DNS lookups for that website to a Cloudflare data

  center, as opposed to the host server for the customer’s website (A ¶ 63). For Cloudflare’s

  customers, the initial DNS lookup for a domain that an Internet user seeks to reach will generally

  automatically return the IP address of a Cloudflare data center (A ¶ 64).

     Cloudflare refuses to terminate the accounts of infringers absent the presentment of a judicial

  order adjudicating the accountholder to be an infringer.         Thus, when Cloudflare receives

  notifications that certain subscribers are repeatedly transmitting specific infringing material

  through its network, Cloudflare simply passes on the notice of infringement to the infringer, and

  the company hosting the infringement, even when Cloudflare knows that these parties will not

  respect copyrights.

     C. The Infringing Website Defendants
     Plaintiffs have been victimized by a massive and unrelenting copyright infringement and

  counterfeiting scheme perpetrated by the Infringing Website Defendants who are exploiting the

  Plaintiffs’ Images to sell cheap imitations of Plaintiffs’ gowns through the internet (CMP ¶ 46).

  The Infringing Website Defendants infringe the Plaintiffs’ Images for the purpose of knowingly

  and willfully manufacturing, importing, distributing, offering for sale and selling grossly inferior


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  “knock-offs” of the Plaintiffs’ dresses which the Infringing Website Defendants pass off as the

  Plaintiffs’ authentic dresses (CMP ¶ 47). The Infringing Websites prominently post the Infringing

  Images on the home page of the Infringing Websites and/or in galleries of dresses available for

  sale, along with providing a detailed product description to pose as authorized online retailers,

  outlet stores or wholesalers selling genuine Plaintiffs’ products (CMP ¶ 48).

     The vast majority of the Infringing Websites are hosted on servers located in the People’s

  Republic of China, or in other foreign jurisdictions located in South East Asia, or on offshore

  servers that advertise their non-compliance with U.S. copyright laws. All of the Infringing

  Websites have been and/or are optimized by Cloudflare’s services to make the website accessible

  to consumers in the United States, including within the State of Tennessee.

     The full list of Infringing Websites sued by Plaintiffs is contained in Schedule A annexed to

  the Complaint. Additionally, Exhibit 5 to the Complaint sets forth for each domain, a side-by-side

  display of each of the Plaintiffs’ copyrighted images with the corresponding Infringing Image that

  had been reported to Cloudflare, along with the copyright registration, URL and DMCA reporting

  information.

     II. THE COMPLAINT
         Plaintiff wedding and prom dress manufacturers filed suit against Cloudflare claiming that

  Cloudflare’s content delivery network (“CDN”) and domain name services (“DNS”) materially

  aid counterfeiters (“Infringing Website Defendants”) engaged in the systematic misappropriation

  of Plaintiffs’ product images to display infringing copies of them on websites used to sell knock-

  off dresses (“Infringing Websites”).     Plaintiffs contend that Cloudflare materially aids the

  infringement by speeding up the delivery of the images from the Infringing Websites hosted

  thousands of miles away to internet users in the United States. When Cloudflare receives


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  notifications that certain subscribers are repeatedly transmitting specific infringing material

  through its network, Cloudflare simply passes on the notice of infringement to the infringer, and

  the company hosting the infringement, even when Cloudflare knows that these parties will not

  respect copyrights.

         Plaintiffs allege that Cloudflare materially contributes to the ongoing infringement

  because: i) it knows of specific infringement due to its receipt of Plaintiffs’ complaints of

  infringement; ii) it materially assisted that infringement by enabling the Infringing Website

  Defendants to cache on Cloudflare’s domestic servers the Infringing Images and by significantly

  speeding up the load-times of the Infringing Websites; and iii) it refused to take the simple measure

  of terminating its service provided to the infringers.

         Specifically, Plaintiffs’ Complaint contains two claims for relief. The First Claim for

  Relief consists of a claim of direct copyright infringement against the Infringing Website

  Defendants. The Second Claim for Relief asserts a claim of contributory copyright infringement

  against Cloudflare.

     III. DISCOVERY REGARDING THE IDENTITIES OF THE INFRINGING
         WEBSITE DEFENDANTS
         On April 10, 2020, the parties filed a joint motion: i) for an extension of time for the

  Plaintiffs to respond to Cloudflare’s Counterclaims; ii) for leave for Plaintiffs to conduct limited

  early discovery to gain contact information regarding Does 1-200 for purposes of service of

  process, and for special treatment of interrogatories pertaining to multiple Doe defendants; and iii)

  for limited relief from case management activities until Plaintiffs answer Cloudflare’s

  Counterclaims.

         The Joint Motion provided that Plaintiffs may serve an interrogatory seeking that

  Cloudflare disclose the last-known name, physical address and email address (to the extent known
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  by Cloudflare) for each of the ninety-eight (98) websites identified in Schedule A to the

  Complaint. Cloudflare agreed within “21 days of receipt said interrogatories [to] use reasonable

  efforts to prove notice of the relevant interrogatory to each of the Does 1-200, by email to the last

  known contact email address of each that Cloudflare has, and indicate Cloudflare’s intent to

  produce the requested information for each Doe unless the Doe seeks a protective order preventing

  disclosure within 14 days of the notice from Cloudflare (or within any further time the Court may

  grant).” Cloudflare also agreed to produce the requested contact information in its possession

  within sixty days from Cloudflare’s receipt of the interrogatory as to any Doe that did not timely

  seek a protective order.

         With respect to the Confidentiality of the responses provided, the Joint Motion provided:
         10.     In the event that no protective order generally governing confidential information
         has been entered in the case by the time of Cloudflare’s production of information pursuant
         to paragraphs 8 and/or 9 of this Stipulation, any information designated as “Confidential”
         by Cloudflare shall be treated as “Confidential” in accordance with the terms of the
         proposed protective order circulated by counsel for Cloudflare on April 2, 2020 until the
         Court enters a protective order generally governing confidential information in this
         case. Upon the entry of a protective order generally governing confidential information in
         this case, that protective order shall govern the use of any information produced by
         Cloudflare that has been designated as “Confidential.

         On June 23, 2020, Cloudflare answered Interrogatory Number 1 by providing a list of the

  emails and physical addresses provided to Cloudflare in association with each of the websites

  identified in Schedule A. On July 16, 2020, Cloudflare agreed to “downgrade the response to

  Interrogatory No. 1 to confidential.” Consequently, Plaintiffs must file under seal, the service of

  process information to be used for these websites, unless the Court rules that the email addresses

  should not be confidential.




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         An investigator for Plaintiffs has determined that each of the physical addresses provided

  by the Infringing Website Defendants to Cloudflare was either fictitious, or so incomplete to be

  useless in identifying the operator of the website. See RB Decl. ¶¶ 17-18.

         Plaintiffs subsequently served document subpoenas upon Microsoft and Google to obtain

  “all reasonably available subscriber and login IP address information” and “all non-content email

  header information” pertaining to various Gmail and Hotmail email addresses associated with the

  Infringing Websites. See RB Decl. ¶¶ 40. Google and Microsoft responded to these document

  subpoenas on or about September 14, 2020 and October 15, 2020.

         On August 12, 2020, pursuant to Fed. Rule. Civ. Pro. 4(d)(1), Plaintiffs sent notices

  requesting that the owners of the infringing websites waive service of process to every email

  provided by Cloudflare. 44 of these email addresses (the “Cloudflare Email Addresses”),

  corresponding to 93 Infringing Domains, were not returned as undeliverable, thus confirming that

  these email addresses remain active. Significantly, before Plaintiffs had confirmed that the

  Cloudflare email addresses were still active, Cloudflare had sent a notification to each of the

  Cloudflare email addresses to forewarn that Cloudflare was required to disclose the email and

  physical addresses related to the Infringing Websites.

     IV. THE CLUSTERS OF INFRINGING WEBSITES
         Thirty-five (35) of the 98 websites sued by Plaintiffs provided to Cloudflare the “3975”

  email address. In other words, while these thirty five website ostensibly appear to be unrelated,

  Cloudflare’s records showed that each of them was operated or controlled by the same person or

  entity. See RB Decl. ¶¶ 19-24.

         Another 11 websites of just the 98 sued, are part of the “Bethany” Cluster. According to

  Plaintiffs’ investigation, the Bethany Cluster consists of more than 30 infringing websites in
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  total, based upon the common layout of the websites, registrant information and email addresses

  used. See RB Decl. ¶¶ 25-32.

         Cloudflare’s Interrogatory Answer also reveals that another six websites – of just the 98

  sued by Plaintiffs – are part of what Plaintiffs refer to as the “Diamond Hill Cluster.” These six

  websites are part of a cluster of more than twenty websites many of which have been traced to an

  IP Address whose owner is listed in registrars as “HK Diamond Hill.” In addition to seeking to

  effectuate service upon the six Diamond Hill websites through the active email address provided

  by Cloudflare, Plaintiffs also seek to effectuate service upon them through active email addresses

  displayed by Diamond Hill Cluster websites. See RB Decl. ¶¶ 33-39.

                                        LEGAL ARGUMENT
     I. THE LEGAL STANDARDS FOR PERMITTING THE SERVICE OF PROCESS
        BY EMAIL ON FOREIGN INDIVIDUALS OR COMPANIES
         Plaintiffs seek to serve the Doe(s) responsible for the operation of each of the Infringing

  Websites identified in Exhibit 1. Plaintiffs do not know the true names of the individuals or entities

  operating the Infringing Websites, much less their true physical addresses, due to their use of

  fictitious names and addresses to conceal their true identities. However, for 96 Infringing Websites

  identified in Exhibit 1, Plaintiffs have obtained valid, active and reliable email addresses used by

  these Does to operate the Infringing Websites. See, e.g., Gaffigan v. Doe, 689 F. Supp.2d 1332

  (S.D. Fla. Dec. 7, 2009) (suit brought against the owners, whose names are currently unknown, of

  various websites engaged in infringement).

         Service here must comport with the requirements of Rule 4(f) whether the Does are

  considered to be entities or individuals because Rule 4(h)(2) of the Federal Rules of Civil

  Procedure authorizes service of process on a foreign business entity in the manner prescribed by


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  Rule 4(f) for individuals. Elcometer, Inc. v. Tqc-Usa, Inc., 2013 U.S. Dist. LEXIS 19874, *4 (E.D.

  Mich. February 14, 2013). In relevant part, Rule 4(f) states:

         Unless federal law provides otherwise, an individual . . . may be served at a place not within
         any judicial district of the United States:

         (1) by any internationally agreed means of service that is reasonably calculated to give
         notice, such as those authorized by the Hague Convention on the Service Abroad of Judicial
         and Extrajudicial Documents;

         (2) if there is no internationally agreed means, or if an international agreement allows but
         does not specify other means, by a method that is reasonably calculated to give notice…;
         or

         (3) by other means not prohibited by international agreement, as the court orders.

  NOCO Co. v. Khaustov, 2019 U.S. Dist. LEXIS 151413, *4, (N.D. Ohio September 5, 2019).

         Rule 4(f)(3) provides the only means by which the Does can be served here, because Rule

  4(f)(1) and (2) are inapplicable here. “[S]ervice under Rule 4(f)(3) is permissible if (1) directed

  by the Court; and (2) not prohibited by international agreement. Elcometer, Inc. v. Tqc-Usa, Inc.,

  2013 U.S. Dist. LEXIS 19874, *4, (E.D. Mich. February 14, 2013). Service cannot be made

  pursuant to Rule 4(f)(1) – which permits service by any “internationally agreed means of

  service…” – because the Does’ country of residence much less physical addresses are not known.

  See Hague Convention, November 15, 1965, Article I. Hague Convention Art. I, Nov. 15, 1965,

  20 U.S.T. 361 (stating that the "Convention shall not apply where the address of the person to be

  served with the document is not known"). Likewise, Rule 4(f)(2) is inapplicable because it is not

  possible to serve process via means “prescribed by the foreign country's law” without knowing

  where the Infringing Website Defendants reside. See Fed. R. Civ. P. 4(f)(2).

         “There is no hierarchy or preference among Rule 4(f)’s methods of service,” and the rule

  does not require plaintiffs to engage in attempts at service that would prove futile. Slay v. IB

  Travelin, Inc., No. 2:18-cv-02728, 2019 U.S. Dist. LEXIS 22554, at *5-7 (W.D. Tenn. Feb. 12,
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  2019). Service by alternate means under Rule 4(f)(3) “is neither a last resort nor extraordinary

  relief. It is merely one means among several which enables service of process on an international

  defendant.” KPN B.V. v. Corcyra D.O.O., 2009 U.S. Dist. LEXIS 20906, *3 (S.D.N.Y. Mar. 16,

  2009); Gamboa v. Ford Motor Co., 414 F. Supp. 3d 1035, 1039 (E.D. Mich. 2019) (finding that

  substituted service under Rule 4(f)(3) is neither a last resort nor extraordinary relief).

     II. SERVICE BY EMAIL DOES NOT VIOLATE INTERNATIONAL AGREEMENT
         Rule 4(f)(3) requires that the proposed means of service are “not prohibited by international

  agreement.”    The Hague Convention on the Service Abroad of Judicial and Extrajudicial

  documents in Civil or Commercial Matters (“Hague Convention”) is commonly cited as such an

  international agreement. However, Article I provides that the Hague Convention does “not apply

  where the address of the person to be served with the document is not known,” as here. Chanel,

  Inc. v. Xu, 2010 U.S. Dist. LEXIS 6734, *9 (W.D. Tenn. Jan. 27, 2010). Here, Plaintiffs attempted

  to verify the physical addresses that each of the domains provided to Cloudflare and determined

  them to be fraudulent. Because the addresses of Defendants are not known, the Hague Service

  Convention does not apply to the present suit. Id.

         Additionally, even if the Hague Convention applied – which it does not – multiple courts

  have generally “held that the Hague Convention allows service by email.” FKA Distrib. Co., LLC

  v. Yisi Tech. Co., Ltd., 2017 U.S. Dist. LEXIS 151679, *4 (allowing service by email upon a

  defendant in China), citing approvingly to, Sulzer Mixpac AG v. Medenstar Indus. Co., 312 F.R.D.

  329, 332, (S.D.N.Y. Nov. 27, 2015) (“China's objection to service by postal mail in the Hague

  Convention does not cover service by email”).

     III. SUBSTITUTED SERVICE IS PROPER UNDER RULE 4(F)(3)
         “By design, Rule 4(f)(3) was adopted in order to provide flexibility and discretion to the

  federal courts” regarding methods of substituted service on foreign defendants. Philip Morris
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  USA, Inc. v. Veles Ltd., 2007 U.S. Dist. LEXIS 19780, at *8 (S.D.N.Y. Mar. 12, 2007). “As e-

  mail has become more prevalent, courts have not hesitated to allow service by e-mail, especially

  when the defendant lives abroad and is avoiding service.” Chanel, Inc. v. He Zhizhong, 2010

  U.S. Dist. LEXIS 36478, *3 (W.D. Tenn. Mar. 16, 2010). “Service by e-mail is especially

  appropriate in this case, as it appears Defendants conduct most or all of their business over the

  internet and deal with customers via e-mail.” Chanel, Inc. v. He Zhizhong, 2010 U.S. Dist.

  LEXIS 36478, *4.

         Chanel, Inc. v. Xu proves instructive. No. 2:09-cv-02610-cgc, 2010 U.S. Dist. LEXIS 6734

  (W.D. Tenn. Jan. 27, 2010). In Chanel, plaintiff alleged that a number of Chinese defendants

  committed trademark and copyright infringement by promoting and selling replicas of plaintiff’s

  products online. Through private investigation, plaintiffs uncovered a number of emails and

  fragments of physical addresses associated with the defendants, though it was determined that the

  physical addresses were invalid and fraudulent. Plaintiff thereafter sent pretextual emails to email

  addresses associated with the websites, and as the emails were not returned as undeliverable it was

  determined that the email addresses were a valid means of communication with defendants.

  Ultimately, as these emails constituted the most likely means of communicating with the defending

  online retailers, the Court found that substituted service via email comported with due process of

  law and ordered that Defendants be served via email. Id.

         The case at hand follows the exact same pattern, merely with a larger number of infringing

  Defendants. Plaintiffs have identified a number of websites that have committed copyright

  infringement by promoting and selling replicas of its products online. Through information

  produced by Cloudflare, Plaintiffs have developed a list of email addresses used by the Infringing

  Domains to conduct their online businesses. This list of emails has been further supplemented by


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  Plaintiffs’ own investigation to add additional emails associated with the Infringing Domains.

  Plaintiffs have further investigated the fragments of physical addresses provided by Cloudflare

  and have found them to be incomplete and unusable. Finally, Plaintiffs have confirmed that the

  email addresses are still active through their request for the Infringing Domains to waive service.

  Taken as a whole, the active email addresses used by the Infringing Domains constitutes the most

  likely means of apprising Defendants of this action, and thereby comports with the due process

  requirements of service.

     IV. SUBSTITUTED SERVICE VIA EMAIL COMPORTS WITH
        CONSTITUTIONAL NOTIONS OF DUE PROCESS
         A method of service of process must also comport with constitutional notions of due

  process. “To meet this requirement, the method of service crafted by the district court must be

  ‘reasonably calculated, under all the circumstances, to apprise interested parties of the pendency

  of the action and afford them an opportunity to present their objections.’” Chanel, Inc. v. He

  Zhizhong, 2010 U.S. Dist. LEXIS 36478, *4 (W.D. Tenn. March 16, 2010).

         Here, Plaintiffs seek permission to serve process upon 96 of the Does per the Cloudflare

  Email Addresses. Significantly, these are the email addresses that these Does used to operate their

  websites on Cloudflare. Moreover, before Plaintiffs confirmed that these email addresses were

  active, Cloudflare had sent a notification to the Cloudflare Email Addresses forewarning that

  Cloudflare had been required to turnover this contact information. Accordingly, service via these

  emails is therefore reasonably calculated to provide notice of this litigation. Elcometer, Inc. v. Tqc-

  Usa, Inc., No. 12-cv-14628, 2013 U.S. Dist. LEXIS 19874, at *7 (E.D. Mich. Feb. 14, 2013)

  (finding that service via email was appropriate where defendants conducted their business on the

  internet and plaintiffs emails regarding the waiver of service were not returned as undeliverable).


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                                           CONCLUSION

         For the foregoing reasons, Plaintiffs respectfully request that the Court grant Plaintiffs’

  Motion for Leave to Serve Process by Substituted Service.

  DATED: October 29, 2020

                                                        Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on October 29, 2020, a true and correct copy of the foregoing was filed
  via the Court’s CM/ECF system. Notice of this filing will be sent by operation of the Court’s
  electronic filing system to all counsel of record.


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                                             s/ Nicole D. Berkowitz
                                             Nicole D. Berkowitz




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